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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


                                        :    MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG         :
       “DEEPWATER HORIZON” in the       :
       GULF OF MEXICO, on               :
       APRIL 20, 2010                   :    SECTION: J
                                        :
                                        :
                                        :    JUDGE BARBIER
                                        :    MAG. JUDGE SHUSHAN
.. .. .. .. .. .. .. .. .. .. .. .. .. . .. .. .. .. .. .. .. ..


THIS DOCUMENT RELATES TO ALL CASES

                           PRETRIAL ORDER #1
                      Setting Initial Conference


     It appearing that civil actions listed on Schedule A,

attached hereto, which were transferred to this Court by order of

the Judicial Panel on Multi District Litigation pursuant to its

order of August 10, 2010, merit special attention as complex

litigation, it is, therefore, ORDERED that:



     1.     INTRODUCTION — It is not yet known how many attorneys

will eventually join this litigation, but we can assume it will

be a large number.    As attorneys involved in a multi-district

case, you will probably be laboring together for some time in the

future with work progressively becoming more complicated and

exacting.    Some of you know each other and some are complete
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strangers.   Undoubtedly each has a different style and

personality.   It is likely that during the course of this

litigation your working relationship will occasionally be

strained, communication derailed, and mutual trust questioned.

The just and efficient resolution of this litigation will depend

in large measure on the way you as attorneys comport yourselves

and overcome the temptations and trepidations inherent in a case

of this magnitude.    The Manual for Complex Litigation recognizes

that judicial involvement in managing complex litigation does not

lessen the duties and responsibilities of the attorneys.         To the

contrary, the added demands and burdens of this type of

litigation place a premium on professionalism and require counsel

to fulfill their obligations as advocates in a manner that will

foster and sustain good working relations among fellow counsel

and the Court.   The Court expects, indeed insists, that

professionalism and courteous cooperation permeate this

proceeding from now until this litigation is concluded.         The

court record should never be the repository of ill-chosen words

arising out of a sense of frustration over real or imagined

issues.   Because of the high level of competence and experience

of attorneys who are generally involved in multi-district

litigation, this Court is confident that this objective will be

achieved without judicial intervention.




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     2.   APPLICABILITY OF ORDER — Prior to the initial pretrial

conference and entry of a comprehensive order governing all

further proceedings in this case, the provisions of this Order

shall govern the practice and procedure in those actions that

were transferred to this Court by the Judicial Panel on Multi

District Litigation pursuant to its order of August 10, 2010

listed on Schedule A.    This Order also applies to all related

cases filed in all sections of the Eastern District of Louisiana

and will also apply to any "tag-along actions" later filed in,

removed to, or transferred to this Court.



     3.   CONSOLIDATION — The civil actions listed on Schedule A

are consolidated for pretrial purposes.       Any “tag-along actions”

later filed in, removed to or transferred to this Court, or

directly filed in the Eastern District of Louisiana,         will

automatically be consolidated with this action without the

necessity of future motions or orders.        This consolidation,

however, does not constitute a determination that the actions

should be consolidated for trial, nor does it have the effect of

making any entity a party to any action in which he, she or it

has not been named, served or added in accordance with the

Federal Rules of Civil Procedure.




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     4.   DATE OF INITIAL CONFERENCE AND AGENDA FOR CONFERENCE —

Matters relating to pretrial and discovery proceedings in these

cases will be addressed at an initial pretrial conference to be

held on Friday, September 17, 2010 at 9:30 a.m. in Judge Carl J.

Barbier’s courtroom, Room C-268, United States Courthouse, 500

Poydras Street, New Orleans, Louisiana.       Counsel are expected to

familiarize themselves with the Manual for Complex Litigation,

Fourth (“MCL 4th”) and be prepared at the conference to suggest

procedures that will facilitate the expeditious, economical, and

just resolution of this litigation.      The items listed in MCL 4th

Sections 22.6,   22.61, 22.62, and 22.63 shall, to the extent

applicable, constitute a tentative agenda for the conference.

Counsel shall confer and seek consensus to the extent possible

with respect to the items on the agenda, including a proposed

discovery plan, amendment of pleadings, and consideration of any

class action allegations and motions, and be prepared to select

trial dates.   Parties shall also submit an initial proposed case

management order and, if necessary, shall submit suggestions for

any other agenda items.    As part of this proposed case management

order, the parties shall suggest whether and how the consolidated

cases should be grouped into separate tracks for purposes of

pretrial discovery, motion practice, etc.

     These documents shall be delivered to the Court three full

work days prior to the initial conference by fax to (504) 589-


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4536, or in person to Judge Carl J. Barbier’s Chambers, Room C-

256, United States Courthouse, 500 Poydras Street, New Orleans,

Louisiana.



     5.   POSITION STATEMENT — Three full work days prior to the

initial conference, plaintiffs and defendants shall submit a

brief written statement indicating their preliminary

understanding of the facts involved in the litigation and the

critical factual and legal issues.       These statements will not be

filed with the Clerk, will not be binding, will not waive claims

or defenses, and may not be offered in evidence against a party

in later proceedings.    The parties' statements shall list all

pending motions, as well as all related cases pending in state or

federal court, together with their current status, including any

discovery taken to date, to the extent known.        The parties shall

be limited to one such submission for all plaintiffs and one such

submission for all defendants.



     6.   APPEARANCE AT INITIAL CONFERENCE — Each party

represented by counsel shall appear at the initial pretrial

conference through their attorney who will have primary

responsibility for the party’s interest in this litigation.

Parties not represented by counsel may appear in person or

through an authorized and responsible agent.        To minimize costs


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and facilitate a manageable conference, parties with similar

interests may agree, to the extent practicable, to have an

attending attorney represent their interest at the conference.          A

party, by designating an attorney to represent the party’s

interest at this initial conference, will not be precluded from

personally participating or selecting other representation during

the future course of this litigation, nor will attendance at the

conference waive objections to jurisdiction, venue, or service.



     7.   SERVICE — Prior to the initial pretrial conference,

service of all papers shall be made on each of the attorneys on

the Panel Attorney Service List attached hereto and designated as

Schedule B.   Any attorney who wishes to have his/her name added

to or deleted from such Panel Attorney Service List may do so

upon request to the Clerk of this Court and notice to all other

persons on such service list.     The parties shall present to the

Court at the initial conference a list of attorneys, their office

addresses, phone and fax numbers, and e-mail addresses.



     8.   EXTENSION AND STAY — Each defendant is granted an

extension of time for responding by motion or answer to the

complaint(s) until a date to be set by this Court.        Pending the

initial conference and further orders of this Court, all

outstanding discovery proceedings are stayed, and no further


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discovery shall be initiated.     Moreover, all pending motions must

be renoticed for resolution on a motion day or days after the

Court's initial conference herein.



     9.    MASTER DOCKET FILE — Any pleading or document which is

to be filed in any of these actions shall be filed with the Clerk

of this Court and not in the transferor court.        The Clerk of this

Court will maintain a master docket file under the style “In Re:

Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of

Mexico, on April 20, 2010" and the identification “MDL No. 2179.”

When a pleading is intended to be applicable to all actions, this

shall be indicated by the words: "This Document Relates to All

Cases."    When a pleading is intended to apply to less than all

cases, this Court's docket number for each individual case to

which the document number relates shall appear immediately after

the words "This Document Relates to."      The following is a sample

of the pleading style:

     In Re: Oil Spill by the Oil Rig              MDL No. 2179
            “Deepwater Horizon” in the
            Gulf of Mexico, on
            April 20, 2010                        SECTION: J

     This Document Relates to: _____              Judge Barbier
                                                  Mag. Judge Shushan

     10.    FILING — All documents filed in this Court must be

filed electronically pursuant to Local Rule 5.7E and this Court’s

Administrative Procedures for Electronic Filing.        Attorneys may


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register at www.laed.uscourts.gov/cmecf/ecf.htm.        An attorney

who, due to exceptional circumstances, is unable to comply with

the requirements of electronic filing, may apply to the Court for

an order granting an exemption.      The application shall be in

writing, filed with the Clerk of Court, and shall state the

reason for the attorney’s inability to comply.        Pro se litigants

who have not been authorized to file electronically shall

continue to file their pleadings with the Clerk of Court in the

traditional manner, on paper.     The Clerk of Court is directed to

make all entries on the master docket sheet with a notation

listing the cases to which the document applies, except that a

document closing a case will also be entered on the individual

docket sheet.   All documents shall be filed in the master file.



     11.   DOCKETING — When an action that properly belongs as a

part of In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in

the Gulf of Mexico, on April 20, 2010 is hereinafter filed in the

Eastern District of Louisiana or transferred here from another

court, the Clerk of this Court shall:

           a.   File a copy of this Order in the separate file for

                such action;

           b.   Make an appropriate entry on the master docket

                sheet;

           c.   Forward to the attorneys for the plaintiff in the


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                newly filed or transferred case a copy of this

                Order;

           d.   Upon the first appearance of any new defendant,

                forward to the attorneys for the defendant in such

                newly filed or transferred cases a copy of this

                Order.



     12.   APPEARANCES IN LITIGATION — Counsel who appeared in a

transferor court prior to transfer need not enter an additional

appearance before this Court.     Moreover, attorneys admitted to

practice and in good standing in any United States District Court

are admitted pro hac vice in this litigation, and the

requirements of Local Rules 83.2.6E      and 83.2.7 are waived.

Association of local counsel is not required.



     13.   REMAND STIPULATIONS — In the event that a case is

remanded, the parties shall furnish to the Clerk of Court a

stipulation or designation of the contents of the record and

furnish all necessary copies of any pleadings filed so as to

enable the transferee clerk to comply with the order of remand.



     14.   PRESERVATION OF EVIDENCE — All parties and their

counsel are reminded of their duty to preserve evidence that may

be relevant to this action.     The duty extends to documents, data,


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and tangible things in possession, custody and control of the

parties to this action, and any employees, agents, contractors,

carriers, bailees, or other nonparties who possess materials

reasonably anticipated to be subject to discovery in this action.

“Documents, data, and tangible things” is to be interpreted

broadly to include writings, records, files, correspondence,

reports, memoranda, calendars, diaries, minutes, electronic

messages, voice mail, e-mail, telephone message records or logs,

computer and network activity logs, hard drives, backup data,

removable computer storage media such as tapes, discs and cards,

printouts, document image files, Web pages, databases,

spreadsheets, software, books, ledgers, journals, orders,

invoices, bills, vouchers, check statements, worksheets,

summaries, compilations, computations, charts, diagrams, graphic

presentations, drawings, films, charts,      digital or chemical

process photographs, video, phonographic, tape or digital

recordings or transcripts thereof, drafts, jottings and notes,

studies or drafts of studies or other similar such material.

Information that serves to identify, locate, or link such

material, such as file inventories, file folders, indices, and

metadata, is also included in this definition.       Preservation

includes the obligation not to alter any such       thing as to its

form, content or manner of filing.       Until the parties reach an

agreement on a preservation plan or the Court orders otherwise,


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each party shall take reasonable steps to preserve all documents,

data and tangible things containing information potentially

relevant to the subject matter of this litigation.        Each counsel

is under an obligation to the Court to exercise all reasonable

efforts to identify and notify parties and nonparties, including

employees of corporate or institutional parties of the contents

of this paragraph.    Failure to comply may lead to dismissal of

claims, striking of defenses, imposition of adverse inferences or

other dire consequences.

     Before any devices, tangible things, documents, and other

records which are reasonably calculated to lead to admissible

evidence are destroyed, altered, or erased, counsel shall confer

to resolve questions as to whether the information should be

preserved.    If counsel are unable to agree, any party may apply

to this Court for clarification or relief from this Order upon

reasonable notice.



     15.     FILING OF DISCOVERY REQUESTS — In accordance with Rule

5(d) of the Federal Rules of Civil Procedure, discovery requests

and responses are not to be filed with the Clerk nor sent to the

Judge's Chambers, except when specifically ordered by the Court

to the extent needed in connection with a motion.




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     16.   LIAISON COUNSEL — Prior to the initial conference,

counsel for the plaintiffs and counsel for the defendants shall,

to the extent they have not already done so, confer and seek

consensus on the selection of a candidate for the position of

liaison counsel for each group who will be charged with

essentially administrative matters.      For example, liaison counsel

shall be authorized to receive orders and notices from the Court

on behalf of all parties within their liaison group and shall be

responsible for the preparation and transmittal of copies of such

orders and notices to the parties in their liaison group and

perform other tasks determined by the Court.       Liaison counsel

shall be required to maintain complete files with copies of all

documents served upon them and shall make such files available to

parties within their liaison group upon request.        Liaison counsel

are also authorized to receive orders and notices from the

Judicial Panel on Multi District Litigation pursuant to Rule

5.2(e) of the Panel's Rules of Procedure or from the transferee

court on behalf of all parties within their liaison group and

shall be responsible for the preparation and transmittal of

copies of such orders and notices to the parties in their liaison

group.   The expenses incurred in performing the services of

liaison counsel shall be shared equally by all members of the

liaison group in a manner agreeable to the parties or set by the

Court failing such agreement.     Proposals for the designation of


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liaison counsel shall be submitted to the Court no later than

three full work days prior to the initial conference.

Appointment of liaison counsel shall be made by the Court after

full consideration of the proposals.      At the first conference,

liaison counsel and/or the parties should be prepared to discuss

any additional needs for an organizational structure or any

additional matters consistent with the efficient handling of this

matter.

     Until this Court names liaison counsel for MDL 2179, those

individuals who served as liaison counsel in the consolidated

action, In Re: Deepwater Horizon, No. 10-CV-1156 (E.D. La. 2010),

(James Roy and Stephen Herman for Plaintiffs, and Don K. Haycraft

for Defendants) will continue to serve in that capacity.



     17.    PLAINTIFFS’ STEERING COMMITTEES — It is the Court’s

intent to appoint a Plaintiffs’ Steering Committee (“PSC”) to

conduct and coordinate the discovery stage of this litigation

with the defendant’s representatives or committee.

Applications/nominations for the PSC positions must be filed with

the Eastern District of Louisiana’s Clerk’s Office electronically

on or before Monday, September 27, 2010.      A copy must also be

served upon counsel named in the attached list on the day of

filing.    The main criteria for membership in the PSC will be: (a)

willingness and availability to commit to a time-consuming


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project; (b) ability to work cooperatively with others; and (c)

professional experience in this type of litigation.

Applications/nominations should succinctly address each of the

above criteria as well as any other relevant matters.        No

submissions longer than four (4) pages will be considered.         The

Court will only consider attorneys who have filed a civil action

in this litigation.

     Objections may be made to the appointment of a proposed

applicant/nominee.    Nevertheless, the Court will entertain only

written objections to any application/nomination.        These must be

filed electronically with the Clerk on or before Monday, October

4, 2010.   The objections, if there be any, must be short, yet

thorough, and must be supported by necessary documentation.         As

with the application/nomination, any objection must be served on

all counsel appearing on the attached list on the day of filing.

     The PSC will have the following responsibilities:

     Discovery

     1.    Initiate, coordinate, and conduct all pretrial

           discovery on behalf of plaintiffs in all actions which

           are consolidated with the instant multi-district

           litigation.

     2.    Develop and propose to the Court schedules for the

           commencement, execution, and completion of all

           discovery on behalf of all plaintiffs.


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 3.    Cause to be issued in the name of all plaintiffs the

       necessary discovery requests, motions, and subpoenas

       pertaining to any witnesses and documents needed to

       properly prepare for the pretrial discovery of relevant

       issues found in the pleadings of this litigation.

       Similar requests, notices, and subpoenas may be caused

       to be issued by the PSC upon written request by the

       individual attorney in order to assist him/her in the

       preparation of the pretrial stages of his/her client’s

       particular claims.

 4.    Conduct all discovery in a coordinated and consolidated

       manner on behalf and for the benefit of all plaintiffs.

 Hearings and Meetings

 1.    Call meetings of counsel for plaintiffs for any

       appropriate purpose, including coordinating responses

       to questions of other parties or of the Court.

       Initiate proposals, suggestions, schedules, or joint

       briefs, and any other appropriate matters pertaining to

       pretrial proceedings.

 2.    Examine witnesses and introduce evidence at hearings on

       behalf of plaintiffs.

 3.    Act as spokesperson for all plaintiffs at pretrial

       proceedings and in response to any inquiries by the

       Court, subject of course to the right of any


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       plaintiff’s counsel to present non-repetitive

       individual or different positions.

 Miscellaneous

 1.    Submit and argue any verbal or written motions

       presented to the Court or Magistrate on behalf of the

       PSC as well as oppose when necessary any motions

       submitted by the defendants or other parties which

       involve matters within the sphere of the

       responsibilities of the PSC.

 2.    Negotiate and enter into stipulations with Defendants

       regarding this litigation.      All stipulations entered

       into by the PSC, except for strictly administrative

       details such as scheduling, must be submitted for Court

       approval and will not be binding until the Court has

       ratified the stipulation.      Any attorney not in

       agreement with a non-administrative stipulation shall

       file with the Court a written objection thereto within

       ten (10) days after he/she knows or should have

       reasonably become aware of the stipulation.        Failure to

       object within the term allowed shall be deemed a waiver

       and the stipulation will automatically be binding on

       that party.

 3.    Explore, develop, and pursue all settlement options

       pertaining to any claim or portion thereof of any case


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       filed in this litigation.

 4.    Maintain adequate files of all pretrial matters,

       including establishing and maintaining a document or

       exhibit depository, in either real or virtual format,

       and having those documents available, under reasonable

       terms and conditions for examinations by all MDL

       Plaintiffs or their attorneys.

 5.    Prepare periodic status reports summarizing the PSC’s

       work and progress.     These reports shall be submitted to

       the Plaintiff’s Liaison Counsel who will promptly

       distribute copies to the other plaintiffs’ attorneys.

 6.    Perform any task necessary and proper for the PSC to

       accomplish its responsibilities as defined by the

       Court’s orders, including organizing subcommittees

       compromised of plaintiffs’ attorneys not on the PSC and

       assigning them tasks consistent with the duties of the

       PSC.   Membership on these subcommittees shall be

       subject to the approval of the Court.       Compensation for

       work performed by these subcommittees and the approved

       cost will be paid by common benefit funds.

 7.    Perform such other functions as may be expressly

       authorized by further orders of the Court.

 8.    Reimbursement for costs and/or fees for services will

       be set at a time and in a manner established by the


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           Court after due notice to all counsel and after a

           hearing.



     18.   DEFENDANTS’ STEERING COMMITTEES — This Court will

consider the recommendations of the defendants for membership on

the defendants steering committee.       Defendants Steering Committee

will have the duties and responsibilities described in Paragraph

17 of this order as it pertains to this respective group.



     19.   MDL 2179 WEBSITE — A website particular to MDL 2179

will be created and will be accessible by going to this Court’s

website located at www.laed.uscourts.gov and clicking on the link

for MDL Cases.   The website will contain forms, court orders,

minute entries, a calendar of upcoming events, and other relevant

information.   Once the website is created, the court will issue

an order containing the direct link to the website.


     20.   COMMUNICATION WITH THE COURT — Unless otherwise ordered

by this Court, all substantive communications with the Court

shall be in writing, with copies to opposing counsel.

Nevertheless, the Court recognizes that cooperation by and among

plaintiffs' counsel and by and among defendants’ counsel is

essential for the orderly and expeditious resolution of this

litigation.    The communication of information among and between


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plaintiffs' counsel and among and between defendants’ counsel

shall not be deemed a waiver of the attorney-client privilege or

the protection afforded attorney's work product, and cooperative

efforts contemplated above shall in no way be used against any

plaintiff by any defendant or against any defendant by any

plaintiff.   Nothing contained in this provision shall be

construed to limit the rights of any party or counsel to assert

the attorney-client privilege
                    Hello This is aor
                                    Testattorney work product doctrine.
     New Orleans, Louisiana, this         10th   day of August    , 2010.




                                  CARL J. BARBIER
                                  UNITED STATES DISTRICT JUDGE




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